           Case 2:15-cv-00944-CB Document 16 Filed 06/02/16 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA
                                PITTSBURGH DIVISION

AMY BUMBARGER,                                       )
                                                     )
                   Plaintiff,                        )
                                                     )
v.                                                   )   CASE NO. 2:15-cv-00944-CB
                                                     )
CREDIT ONE FINANCIAL D/B/A                           )
CREDIT ONE BANK,                                     )
                                                     )
                   Defendant.                        )


STIPULATION AND AGREED ORDER TO ARBITRATE AND STAY PROCEEDINGS

        This matter comes before the Court pursuant to an agreement by the parties. Plaintiff Amy

Bumbarger (“Plaintiff”) and Defendant Credit One Financial d/b/a Credit One Bank (“Credit

One”), by and through their undersigned counsel, have agreed to enter into binding arbitration of

Plaintiff’s claims against Credit One. The parties request this Court stay this case pending

arbitration.

        Upon review of the docket and other good cause shown, the Court finds the parties’ request

to be appropriate and well-taken. Therefore, this Court ORDERS that:

        The Stipulation and Agreed Order to Arbitrate and Stay Proceedings is GRANTED.

Plaintiff Amy Bumbarger and Credit One are ORDERED to submit their dispute to arbitration

pursuant to the parties’ written agreement to arbitrate. Plaintiff’s claims against Credit One are

hereby STAYED pending the results of that arbitration.

        IT IS SO ORDERED this _____ day of _______________________, 2016.



                                                    ____________________________________
                                                    HON. CATHY BISSOON
           Case 2:15-cv-00944-CB Document 16 Filed 06/02/16 Page 2 of 2



APPROVED:

/s/ Craig T. Kimmel                    /s/ Ross S. Enders
Craig T. Kimmel                        Ross S. Enders
Kimmel & Silverman, P.C.               Sessions, Fishman, Nathan & Israel, LLC
30 East Butler Pike                    2303 Oxfordshire Road
Ambler, PA 19002                       Furlong, PA 18925
Telephone: (215) 540-8888              Telephone: (215) 794-7207
Facsimile:                             Facsimile: (215) 794-5079
kimmel@creditlaw.com                   renders@sessions.legal

Attorney for Plaintiff                 Attorney for Defendant




                                        2
